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  6
      Attorneys for Trustee,
  7   FRED HJELMESET
  8                            UNITED STATES BANKRUPTCY COURT
  9                            NORTHERN DISTRICT OF CALIFORNIA
 10
       In re:                                            Case No. 18-52831 MEH
 11
       FATMATA JOHN,                                     Chapter 7
 12
                  Debtor.                                No Hearing Required
 13
                NOTICE OF TRUSTEE’S INTENT TO SELL REAL PROPERTY OF THE
 14                ESTATE FREE AND CLEAR OF LIENS AND ENCUMBRANCES
                        PURSUANT TO 11 U.S.C. SECTION 363(b) and (f)
 15
      TO:       THE DEBTOR, HER COUNSEL OF RECORD, BIAMBA JOHN, NATIONSTAR
 16             MORTGAGE, LLC, d/b/a MR. COOPER, COUNTRYWIDE HOME LOANS, REAL
                TIME RESOLUTIONS, INC., JP MORGAN CHASE, THEIR COUNSEL OF
 17             RECORD AND CREDITORS AND PARTIES IN INTEREST

 18             NOTICE IS HEREBY GIVEN that Fred Hjelmeset , the Chapter 7 Trustee (“Trustee“)

 19   of the above captioned matter, seeks an order from Court authorizing him to sell the real

 20   property commonly known as, 3354 Caselegno Court, San Jose, California 95148,

 21   Assessor’s Parcel No. 659-67-066, consisting of a single family residence (the “San Jose

 22   Property”), free and clear of liens, claims, encumbrances, charges, and other interests, to

 23   Xingping He and Weiging Wei (the “Buyers”), for the sum of $1,755,000, as set forth in

 24   more detail below.

 25   Factual Background

 26             Fatmata John (the “Debtor”), filed a voluntary Chapter 13 case on December 26,

 27   2018, which was converted to a Chapter 7 case on February 8, 2019. The Trustee is the

 28   duly appointed and acting trustee of the Debtor’s Chapter 7 bankruptcy estate. The Debtor

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  1   and her husband Biamba John, are the legal and equitable owners of the San Jose
  2   Property and hold title to the San Jose Property as community property with right of
  3   survivorship. Pursuant to 11 U.S.C. Section 541(a)(2), all property held in community
  4   property, including the San Jose Property, became property of the within bankruptcy
  5   estate, upon the commencement of the Debtor’s bankruptcy case.
  6          In her bankruptcy schedules the Debtor represented that she intended to surrender
  7   the San Jose Property and did not assert an exemption in the property. The Debtor further
  8   stated in her schedules that the San Jose Property had a value of $1,800,000, and was
  9   subject to two deeds of trust, i.e., a first deed of trust in favor of Nationstar Mortgage in the
 10   outstanding sum of $1,600,000.00 and a second deed of trust in favor of Real Time
 11   Resolutions, Inc. (“RTR”), in the sum of $437,000. The Trustee is informed that the current
 12   balance owed on the first deed of trust to Nationstar Mortgage LLC, d/b/a Mr. Cooper
 13   (hereinafter “Mr. Cooper”) is approximately $1,834,145.19. Consequently, in the absence
 14   of a Court approved short-sale, there would be insufficient equity in the San Jose Property
 15   to pay any liens recorded against the property other than Mr. Cooper’s first deed of trust.
 16          On April 15, 2019, the Trustee procured an order authorizing the employment of BK
 17   Global to assist the Trustee in negotiating a short sale of the San Jose Property. (“BK
 18   Global”). Additionally, on April 17, 2019, the Trustee procured an order authorizing the
 19   employment of Andy Buchanan and Intero Real Estate Services as the Trustee’s real
 20   estate broker to market and sell the San Jose Property (collectively “Buchanan”). The
 21   combined compensation of BK Global and Intero is six percent (6%) of the total sale price
 22   of the San Jose Property (the “Commission”). Buchanan has procured the Buyers who
 23   have offered to purchase the San Jose Property for the sum of $1,755,000, as set forth in
 24   more detail below.
 25   Encumbrances Against the San Jose Property
 26          The San Jose Property is encumbered by following liens and judgments: (1) a first
 27   deed of trust in favor of Mr. Cooper in the approximate outstanding sum of $1,834,145.19;
 28   (2) second deed of trust in favor of RTR in the approximate sum of $437,546.09; (3)

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  1   judgment in favor of JP Morgan Chase Bank in the amount of $898.45 (the “Judgment”);
  2   and (4) liens for unpaid real property taxes.
  3   Consent of First Deed of Trust Holder, Mr. Cooper
  4          Pursuant to 11 U.S.C. Section 363(f)(2), on June 28, 2019, Mr. Cooper, consented
  5   to the short sale of the San Jose Property to the Buyers for the sum of $1,755,000 (the
  6   “Sale Proceeds”). From the Sale Proceeds, Mr. Cooper has authorized a payment of
  7   $28,000, in full satisfaction of RTR’s second deed of trust against the San Jose Property.
  8   In addition, from the Sale Proceeds Mr. Cooper has also agreed to pay the sales
  9   Commission, a $100,000 carve out payment of the estate, an $850 payment to the estate
 10   for the Trustee’s liability insurance, the outstanding and unpaid real property taxes, all
 11   reasonable and necessary closing costs, and a negotiated payout on the Judgment,
 12   directly from escrow. A condition of the sale is that the sale must close on or before
 13   August 16, 2019, and the San Jose Property must be delivered vacant to the Buyers. All
 14   net proceeds remaining after payment of the liens and expenses set forth above, shall be
 15   remitted to Mr. Cooper in full satisfaction of Mr. Cooper’s first deed of trust.
 16   Consent of Second Deed of Trust Holder, RTR
 17          RTR holds a second deed of trust against the San Jose Property. RTR has agreed
 18   to accept a negotiated payment of $28,000, in full and final settlement and release of its
 19   entire second position deed of trust. The $28,000, negotiated payment shall be paid to
 20   RTR upon consummation of the sale of the property, directly from escrow, from the Sale
 21   Proceeds of the San Jose Property. The Trustee is selling the San Jose Property free and
 22   clear of RTR’s second deed of trust pursuant to 11 U.S.C. Section 363(f)(2), as RTR has
 23   consented to the sale of the property in exchange for a payment of $28,000.
 24   Sale Free and Clear of JPMorgan Chase Bank Judgment Lien
 25          JPMorgan Chase Bank procured the Judgment against the Debtor’s husband,
 26   Biamba John in the amount of $898.45, which abstract of Judgment was recorded against
 27   the San Jose Property on October 10, 2011, in the official records of the Santa Clara
 28   County Recorder’s office as instrument number 21356568. The Judgment is junior in

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  1   priority to the first deed of trust of Mr. Cooper and the second deed of trust of RTR. The
  2   sale of the San Jose Property shall be free and clear of the Judgment pursuant to 11
  3   U.S.C. Section 363(f)(3), in that the Judgment is unsecured, as there is no equity in the
  4   San Jose Property to which the Judgment attached. Additionally, pursuant to 11 U.S.C.
  5   Section 363(f)(5), JPMorgan Chase Bank could be compelled be compelled to accept a
  6   money satisfaction of its Judgment. In the event that JPMorgan Chase Bank agrees to
  7   accept a discounted payoff on its Judgment, such payment shall be made from the Sale
  8   Proceeds, subject to Mr. Cooper’s approval.
  9   Carve Out Payment to the Bankruptcy Estate
 10          The Trustee and Mr. Cooper have agreed that the bankruptcy estate shall receive
 11   a “carve out” payment of $100,000, from the Sale Proceeds of the San Jose Property, free
 12   and clear of any and all security interests and liens of record against the San Jose Property
 13   (the “Carve Out Payment”). The estate is receiving the Carve Out Payment in exchange
 14   for: (1) the Trustee’s efforts in marketing the San Jose Property; (2) securing qualified
 15   offers for the property; (3) sheparding the property through the Bankruptcy Court approval
 16   process; and (4) delivering the San Jose Property vacant to the Buyers. The Carve Out
 17   Payment to the estate is subject to Bankruptcy Court approval and shall be paid to the
 18   Trustee, directly from escrow, upon consummation of the sale.
 19   Compensation of Real Estate Brokers and BK Global
 20          The Commission, in the amount of $105,300, shall be paid upon consummation of
 21   the sale, from the Sale Proceeds, directly from escrow, as follows: (1) $35,100,
 22   representing 2% of the sale price of the San Jose Property, to BK Global; (2) $35,100,
 23   representing 2% of the sale price of the San Jose Property, to Buchanan; and (3) $35,100,
 24   representing 2% of the sale price of the San Jose Property, to Buyers’ broker.
 25   Sale of San Jose Property
 26          During the pendency of the Debtor’s Chapter 13 case, the San Jose Property was
 27   listed for sale by the Debtor, who received no purchase offers. After conversion to Chapter
 28   7, the Trustee listed the San Jose Property for sale for the sum of $1,649,950. In April,

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  1   2019, the Trustee received seven (7) offers for the San Jose Property, ranging from
  2   $1,615,000 to $1,755,000. The Buyers’ offer was the highest offer received by the
  3   Trustee. All offers received for the San Jose Property were “short sale” offers, and were
  4   forwarded to Mr. Cooper for review. The Trustee accepted the Buyers’ offer, subject to:
  5   (1) Mr. Cooper’s approval; (2) acceptance of the negotiated $28,000, short payoff to RTR;
  6   (3) the estate’s receipt of the Carve Out Payment; and (4) Bankruptcy Court approval.
  7          The Trustee is informed and believes that the Buyers have no connection with the
  8   Debtor and are not insiders of the Debtor, as that term is defined in 11 U.S.C. Section
  9   101(4). The Trustee believes that the Buyers are good faith purchasers as that term is
 10   defined in 11 U.S.C. Section 363(m).
 11   Payments Directly from Escrow
 12          From the sale proceeds of the San Jose Property the Trustee intends to pay the
 13   following encumbrances and costs from the Sale Proceeds, directly from escrow: (1) RTR
 14   the sum of $28,000 in full satisfaction and release of RTR’s lien; (2) Commissions in the
 15   amount of $105,300 representing six percent (6%) of the sale price of the property; (3)
 16   $100,000 Carve Out Payment to the bankruptcy estate, free and clear of all liens; (4) $850
 17   payment to the bankruptcy estate for the Trustee’s liability insurance; (5) outstanding and
 18   unpaid real property taxes; (6) all normal and ordinary costs of sale, including but not
 19   limited to escrow fees, and recording fees; (7) a discounted payout on the Judgment,
 20   subject to Mr. Cooper’s approval, if it can be negotiated prior to entry of final order
 21   approving this sale; and (8) all remaining net sales proceeds to Mr. Cooper.
 22   Trustee’s Business Judgment
 23          It is the Trustee’s business judgment that the sale of the San Jose Property to the
 24   Buyers, on the terms and conditions set forth above, is in the best interests of the estate
 25   and its creditors. The scheduled value of the San Jose Property was $1,800,000. The
 26   property was listed for sale at $1,649,950. The Buyers’ offer in the amount of $1,755,000,
 27   was the highest and best offer of the seven offers received by the Trustee after the San
 28   Jose Property had been exposed to the market for a period of six months. The Trustee

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  1   believes that the price offered by the Buyers, exceeds that which would be realized through
  2   any other disposition of the property, such as a public auction. In addition, because the
  3   estate has been able to negotiate a “short sale” with Mr. Cooper and a negotiated short
  4   payoff to RTR, the estate will receive a $100,000 Carve Out Payment, despite the fact that
  5   the San Jose Property is under water.
  6          Any party in interest who wishes to object to the above-described sale of real
  7   property free and clear of liens or wishes a hearing on the Trustee's intention to sell
  8   real property described herein, must comply with Local Rule 9014-1 of the United
  9   States Bankruptcy Court for the Northern District of California. Pursuant to Local
 10   Rule 9014-1 an objecting party or party requesting a hearing must file with the
 11   Bankruptcy Court and serve counsel for the Trustee with a written request for
 12   hearing or objection, along with declarations and/or memoranda of law supporting
 13   the objection or request for hearing, within twenty-one (21) days of the mailing of
 14   this notice. In the event an objection or request for hearing is timely made, Trustee's
 15   counsel shall obtain a hearing date and provide the objecting party with at least
 16   seven (7) days written notice of the hearing. If no party in interest timely files a
 17   request for hearing or an objection to the proposed sale of real property the Trustee
 18   may obtain an order approving the sale without a hearing.
 19
      Dated: July 3, 2019                       MARSHALL & RAMOS, LLP
 20
 21                                             /s/ Mariam S. Marshall
                                                MARIAM S. MARSHALL
 22                                             Attorneys for Trustee
                                                FRED HJELMESET
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